Case 2:04-Cv-03009-.]PI\/|-tmp Document 50 Filed 07/20/05 Page 1 of 2 Page|D 55

 

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IN THE UNITED sTATEs DISTRICT couRT ~“-/ -G.
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 05 JUL 2
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ll '
H. JACK DowNEY, ELIZABETH LEWIB;%§B;R!CT
M. DowNEY, PAUL F. ALEXANDER, “' *¥*~`J*MS

and BRYAN L. SANDERS,
Plaintiffs,

v.

` No. 04-3009 Ml/P

DUNCAN WILLIAMS, INC.,

Defendant.

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JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Granting Defendant’s Motion to Dismiss,
entered July 19, 2005, judgment is hereby entered in favor of
Defendant Duncan Williams, Inc. and against Plaintiffs H. Jack
Downey, Elizabeth M. Downey, Paul F. Alexander, and Bryan L.
Sanders.

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JON . MCCALLA
UN ED STATES DISTRICT COURT

/QY~L\ )(1 2095 rHoMAs M. aouu:)

(:i:;¢/(_/) Clerk of Court
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(By) Deputy Clerk

 

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Honorable .1 on McCalla
US DISTRICT COURT

